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UNITED STA TES DISTRICT COURT
EASTERNDISTRICT 0FLOUISIANA

 

IN RE: XARELTO (RIVAROXABAN) MDL 2592
PRODUCT LIABILITY LITIGATION

SECTION L

 

HONORABLE ELDON E. FALLON
This Document Relates to:

ALL CASES MAG. JUDGE NORTH

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CASE MANAGEMENT ORDER NO. 9 (STAY OF PROCEEDINGS)

For good cause shown, the Court fmds, and hereby ORDERS that:

I. STAY OF PROCEEDINGS

Except for the specific requirements and obligations set forth herein, all idrther litigation
activity in this MDL proceeding shall be stayed, including but not limited to all discovery
obligations and deadlines under CMO 6, CMO 7 and CMO 8, absent the agreement of the parties

or subsequent Order(s) of the Court.

II. ORDERS REQUIRING REGISTRATION OF CASES AND CLAIMS AND
GOVERNING PROCEEDINGS FOLLOWING THE ENROLLMENT PERIOD
AFTER THE PROPOSED SETTLEMENT

Notwithstanding the stay entered in this Order, the Court is simultaneously entering
CMO 10 (Order Regarding Registration of Xarelto-Related Cases and Claims) and CMO ll
(Docket Control Order) that sets forth requirements that shall be undertaken in this litigation on a

going forward basis by all existing plaintiffs and any new plaintiffs. All parties are required to

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fulfill their respective obligations under CMO 10 and CMO ll and the parties may implement
proceedings to enforce these orders.

ORDERS TO SHOW CAUSE

Notwithstanding the stay entered in this Order, plaintiffs who are delinquent in fulfilling
Court requirements for the maintenance of their lawsuits by either ( i) being listed as delinquent
on the periodic status report proceeding the issuance of an Order to Show Cause as to why their
lawsuits should not be dismissed (“OTSC”), or (ii) being subject to an OTSC, remain under an

obligation to resolve the delinquency or issues giving rise to being listed on the status report or

` being made subject to the OTSC. The parties may implement proceedings to enforce this

  

  

 

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UNITED STATES DISTRICT JUDGE

